Case 6:13-cv-00072-RWS Document 69 Filed 11/13/17 Page 1of5 PagelD#: 1152

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION
NETWORK-1 TECHNOLOGIES, §
INC. §
§ CIVIL ACTION NO. 6:13-CV-00072-
Plaintiff, § RWS
§
Vv. §
8
HEWLETT-PACKARD COMPANY, = §
HEWLETT-PACKARD §
ENTERPRISE COMPANY, §
Defendants.
VERDICT FORM

In answering these questions, you are to follow all of the instructions I have
given you in the Final Jury Instructions. Your answers to each question must be
unanimous. In this verdict form, “Network-1” refers to Plaintiff Network-1
Technologies, Inc. “HP” refers to collectively Defendants Hewlett-Packard Company
and Hewlett-Packard Enterprise Company In this verdict form, “the ’930 Patent”

refers to U.S. Patent Number 6,218,930.
Case 6:13-cv-00072-RWS Document 69 Filed 11/13/17 Page 2 of 5 PagelD#: 1153

Question 1

Did Network-1 prove by a preponderance of the evidence that HP infringed
the following independent claims of the ’930 patent?
Please answer “yes” (for Network-1) or “no” (for HP).

7930 patent claim Answer YesorNo

      

Claim 6

Claim 20 No
Claim 22 (\o

Ifyou answered “yes” to claim 6, please answer “yes” or “no” for
the following dependent claims. Otherwise, do not answer for the

following claims. Mt i.

 

 

 

 

 

 

 

 
   

PCr eii | ON eG. ee

Claim 13

 

Claim 14

 

Claim 17

 

 

 

 

Page 2 of 5
Case 6:13-cv-00072-RWS Document 69 Filed 11/13/17 Page 3 of 5 PagelD#: 1154

Question 2 /

Did HP prove by clear and convincing evidence that any of the following
claims of the 930 patent is invalid?

Please answer “yes” (for HP) or “no” (for Network-1).

   

 

 

 

 

 

3 PMN EN Nuon
Claim 13 Xo 2
aim
Ves
Claim 14 /
Ve.5
Claim 17 /
Yes
Claim 20 t
mt Yes
Claim 22 /

 

 

 

 

Question 3 |

Answer question no. 3 if you have found at least one claim to be
infringed and valid. Otherwise, do not answer the remaining questions.

What amount is Network-1 entitled to recover for HP’s infringement of the
°930 patent? N / A

$

 

Page 3 of 5
Case 6:13-cv-00072-RWS Document 69 Filed 11/13/17 Page 4 of 5 PagelD#: 1155

Question 4

Did HP prove by a preponderance of the evidence that Network-1 breached
its contract to license the ‘930 patent on reasonable and non-discriminatory terms?

Answer YES or NO: f V G

Question 5 a! / A

Answer question no. 5 only if you answered “yes” to question no. 4.
Otherwise, do not answer question no. 5.

What amount is HP entitled to recover for Network-1’s breach of contract?

$

 

Page 4 of 5
Case 6:13-cv-00072-RWS Document 69 Filed 11/13/17 Page 5 of5 PagelD#: 1156

You have now reached the end of the verdict form and should review it to
ensure it accurately reflects your unanimous determinations. The jury foreperson
should then sign and date the verdict form in the spaces below and notify the Court
Security Officer that you have reached a verdict. The jury foreperson should retain
possession of the verdict form and bring it when the jury is brought back into the
courtroom.

Signed this | day of Nove on bot , 2017.

 

Jury Foréperson

Page 5 of 5

 
